






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00690-CR







Dana Moore, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 4 OF TRAVIS COUNTY


NO. 712007, HONORABLE MIKE DENTON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Dana Moore pleaded no contest to an information accusing her of
prostitution.  The trial court adjudged her guilty and imposed a ten-day jail sentence.  See Tex. Penal
Code Ann. § 43.02 (West 2003).

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit. (1)  The brief meets the requirements of Anders v. California, 386 U.S.
738 (1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced. (2)  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573&nbsp;S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  In his brief, counsel states that he was unable to deliver a copy of his brief
to appellant or advise her of her right to examine the appellate record and to file a pro se brief
because her whereabouts are unknown. (3)  See Sutherland v. State, 658 S.W.2d 169, 170 (Tex. Crim.
App. 1983).  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.

The judgment of conviction is affirmed.



				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Waldrop and Henson

Affirmed

Filed:   September 26, 2007

Do Not Publish

										
1.   Appellant's counsel on appeal was appointed eighteen months after appellant's trial, after
appellant's original counsel failed to file a brief.
2.   The record consists of the clerk's record only.  No reporter was present at the proceedings
in the trial court.
3.   The clerk's record contains the magistrate's order committing appellant to the sheriff's
custody pending the posting of bail.  The order shows appellant's address as "transient."


